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13   AND HITACHI ELECTRONIC DEVICES
     (USA), INC.
14
                                    UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                         SAN FRANCISCO DIVISION
17
     IN RE: CATHODE RAY TUBE (CRT)                       Case No. Master File No. 3:07-cv-05944-SC
18   ANTITRUST LITIGATION
     ___________________________________                 MDL NO. 1917
19
                                                         DECLARATION OF JAMES MAXWELL
20   This Document Relates to:                           COOPER IN SUPPORT OF
                                                         DEFENDANTS’ JOINT REPLY TO
21   Costco Wholesale Corporation v. Hitachi,            COSTCO’S OPPOSITION TO (1)
     Ltd., et al., No. 3:11-cv-06397-SC;                 DEFENDANTS’ JOINT MOTION FOR
22                                                       PARTIAL SUMMARY JUDGMENT
     Costco Wholesale Corp. v. Technicolor SA, et al.,   AGAINST CERTAIN DIRECT ACTION
23   Individual Case no. 13-cv-05723                     PLAINTIFFS ON DUE PROCESS
                                                         GROUNDS [ECF NO. 3029] AND (2)
24                                                       DEFENDANTS JOINT MOTION FOR
     CompuCom Systems, Inc. v. Hitachi, Ltd., et         PARTIAL SUMMARY JUDGMENT
25   al., Individual Case No. 11-cv-06396                AGAINST COSTCO ON CHOICE OF
                                                         LAW GROUNDS [ECF No. 2997]
26   Office Depot Inc. v. Hitachi Ltd., et al.,
     Individual Case No. 11-cv-06276
27
                   REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
28
     COOPER DECLARATION RE DEFENDANTS’ JOINT                                CASE NO.: 3:07-cv-05944-SC
     REPLY TO COSTCO’S OPPOSITION TO DEFENDANTS’                                        MDL NO.: 1917
     JOINT MOTIONS FOR SUMMARY JUDGMENT
        Case 4:07-cv-05944-JST Document 3469-1 Filed 01/23/15 Page 2 of 3



 1          I, James Maxwell Cooper, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and the Northern

 3   District of California. I am an associate with the firm of Kirkland & Ellis LLP, and counsel for

 4   Hitachi, Ltd., Hitachi Asia, Ltd., Hitachi America, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display

 5   Inc.), and Hitachi Electronic Devices (USA), Inc. (collectively, the “Hitachi Defendants”). I submit

 6   this Declaration in Support of Defendants’ Joint Reply to Costco’s Opposition to (1) Defendants’

 7   Joint Motion for Partial Summary Judgment Against Certain Direct Action Plaintiffs on Due Process

 8   Grounds [ECF No. 3029] and (2) Defendants Joint Motion for Partial Summary Judgment Against

 9   Costco on Choice of Law Grounds [ECF No. 2997] (“Reply”). Except for those matters stated on

10   information and belief, about which I am informed and which I believe to be true, I have personal

11   knowledge of the matters set forth herein, and could and would testify competently to each of them.

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            I declare under penalty of perjury under the laws of the United States of America that the
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     foregoing is true and correct.
28
     COOPER DECLARATION RE DEFENDANTS’ JOINT           1                          CASE NO.: 3:07-cv-05944-SC
     REPLY TO COSTCO’S OPPOSITION TO DEFENDANTS’                                              MDL NO.: 1917
     JOINT MOTIONS FOR SUMMARY JUDGMENT
        Case 4:07-cv-05944-JST Document 3469-1 Filed 01/23/15 Page 3 of 3



 1   DATED: January 23, 2015                       By: /s/ James Maxwell Cooper
 2
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 9                                                      HITACHI AMERICA, LTD., HITACHI
                                                        ASIA, LTD., AND HITACHI
10                                                      ELECTRONIC DEVICES (USA), INC.

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     COOPER DECLARATION RE DEFENDANTS’ JOINT        2                         CASE NO.: 3:07-cv-05944-SC
     REPLY TO COSTCO’S OPPOSITION TO DEFENDANTS’                                          MDL NO.: 1917
     JOINT MOTIONS FOR SUMMARY JUDGMENT
